                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


 BITNOMIAL EXCHANGE, LLC,

              Plaintiff,

        vs.
                                                        Case No. 1:24-cv-09904
 U.S. SECURITIES AND EXCHANGE
 COMMISSION, GARY GENSLER, CAROLINE A.                  Honorable Jeremy C. Daniel
 CRENSHAW, JAIME E. LIZÁRRAGA, HESTER
 M. PEIRCE, and MARK T. UYEDA,

              Defendants.



                           NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Bitnomial Exchange,

LLC hereby notifies the Court that it voluntarily dismisses this action without prejudice.

Defendants have not yet answered or moved for summary judgment.

 Dated: March 19, 2025                         Respectfully submitted,

                                               /s/ Carrie M. Stickel
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